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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MAINE


JOYCE DUFFY,                                 )
                                             )
       Plaintiff                             )       Civil Action
                                             )       Docket No. 2:19-cv-00203-JDL
       v.                                    )
                                             )
WAL-MART STORES EAST, L.P.,                  )
                                             )
       Defendant                             )


                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties hereby agree and

stipulate that all claims asserted in the above-captioned action are dismissed with prejudice and

without costs.

Date: April 3, 2020                  Respectfully submitted,
                                     JOYCE DUFFY,
                                     By Her Attorneys
                                     Roach Ruprecht Sanchez & Bischoff, P.C.
                                      /s/ David S. Bischoff

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Date: April 3, 2020                  Respectfully submitted,
                                     WAL-MART STORES EAST, L.P.,
                                     By Its Attorneys
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